      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 1 of 43



                    UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW HAMPSHIRE


Rockwood Select Asset Fund
XI, (6)-1, LLC

    v.                                 Civil No. 14-cv-303-JL
                                       Opinion No. 2016 DNH 191P
Devine, Millimet & Branch, PA,
and Karen S. McGinley, Esq.


                           MEMORANDUM ORDER

    Before the court are the parties’ several motions in limine

seeking to exclude a variety of evidence and areas of inquiry

from the upcoming trial of this action, and for miscellaneous

other relief in connection with the trial.

    This case arises out of a law firm’s allegedly tortious

representations concerning its client to a lender.          Plaintiff

Rockwood Select Asset Fund XI, (6)-1, LLC, sued defendants

Devine, Millimet & Branch, PA, and Karen S. McGinley, Esq., on a

theory of negligent (or even fraudulent) misrepresentation.

Rockwood alleges that defendants, in the process of assisting

their client, Martha McAdam, to secure a loan from Rockwood,

represented that (1) McAdam was not subject to pending or

threatened litigation, when, in fact, they knew that she was;

and (2) one of the major tenants of the collateral property was

independent of McAdam when, in fact, it was not.
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 2 of 43



       The court, having laid out the background of this action in

numerous prior orders, does not repeat itself here.            See, e.g.,

Rockwood Select Asset Fund XI, (6)-1, LLC v. Devine, Millimet &

Branch, PA, 2015 DNH 135; Rockwood Select Asset Fund XI, (6)-1,

LLC v. Devine, Millimet & Branch, PA, 2016 DNH 24.            It addresses

each of the parties’ motions in turn.

       The court reminds the parties that the rulings herein are

made without prejudice to revisiting particular issues in

response to circumstances that might arise during trial.

Furthermore, these rulings are limited to grounds argued in the

parties’ filings.      The court reserves the right to assess other

factors at trial, such as authenticity, hearsay, and best

evidence, see Fed. R. Evid. 800 et seq., 900 et seq., and 1000

et seq., and where appropriate, arguments and grounds not raised

by counsel.


       Motions to exclude expert testimony

       A.   Defendants’ motion to exclude expert testimony1

       The defendants seek to exclude the supplemental report of

plaintiff’s rebuttal expert, Jonathan E. Hochman.           Rockwood

submitted this alleged rebuttal report on December 4, 2015, well

after the September 1, 2015 rebuttal expert disclosure deadline

set by the court’s (largely agreed to) scheduling order.             See


1   Document no. 66.

                                      2
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 3 of 43



Amended Discovery Plan (document no. 20) at 3; Order of

September 2, 2015.

    A party that intends to offer the testimony of an expert

witness at trial must disclose the identity of that witness and

the witness’s written report, as contemplated by Federal Rule of

Civil Procedure 26(a)(2)(B), “at the times and in the sequence

that the court orders.”     Fed. R. Civ. P. 26(a)(2)(D).       When a

party fails to comply with that obligation, “the baseline rule

is that the required sanction in the ordinary case is mandatory

preclusion” of the late-disclosed information.         Harriman v.

Hancock Cty., 627 F.3d 22, 29 (1st Cir. 2010) (internal

quotations omitted); see Fed. R. Civ. P. 37(c)(1) (a party that

fails to disclose under Rule 26(a) “is not allowed to use that

information or witness to supply evidence . . . at a trial”).

While, “in its discretion, the district court may choose a less

severe sanction,” Esposito v. Home Depot U.S.A., Inc., 590 F.3d

72, 78 (1st Cir. 2009), the court concludes, based on the “array

of factors” endorsed by the Court of Appeals, id., that

preclusion is warranted here.      These factors include “the

sanctioned party’s justification of the late disclosure; the

opponent-party’s ability to overcome its adverse effects (i.e.,

harmlessness); the history of the litigation; the late

disclosure’s impact on the district court’s docket; and the



                                    3
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 4 of 43



sanctioned party’s need for the precluded evidence.”          Harriman,

627 F.3d at 29.

     Hochman opined, in his initial report,2 that certain server

logs for an Ohio state court website could indicate whether

anyone accessed an opinion issued by that court in 2011 and,

further, whether anyone did so after searching for Martha

McAdam’s name.    He noted that counsel for the plaintiff were in

the process of obtaining those server logs.        Per the scheduling

order in this case, plaintiff’s rebuttal expert report was due

on September 1, 2015.    On December 4, 2015 -- 3 months after

that deadline -- plaintiff’s counsel produced the server logs

and disclosed Hochman’s supplemental report, in which he opined

about the implications of their contents.

     This is not the sort of supplementation contemplated by

Rule 26(a)(2)(E).    “A party may not use a supplemental report to

disclose information that should have been disclosed in the

initial expert report, thereby circumventing the requirement for

a timely and complete expert report.”       Marine Polymer Techs.,

Inc. v. HemCon, Inc., No. 06-CV-100-JD, 2010 WL 1427549, at *4

(D.N.H. Apr. 2, 2010) (quoting 6 Moore's Federal Practice

§ 26.131[2]).    Counsel’s busy litigation schedule alone does not




2 Defendants do not dispute the timeliness of Hochman’s initial
report.

                                    4
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 5 of 43



justify their failure to obtain these logs -- which were public

records and which date from 2011 -- well before this litigation

commenced, in a timely fashion.         See Plaintiff’s Opp. To Mot. to

Exclude Supp. Report of Jonathan Hochman (document no. 69) at 2-

3 & n.2.   This lack of justification -- coming in a case where

plaintiff’s counsel have missed several deadlines -- weighs

heavily in favor of preclusion of the supplemental report.

    The history of the litigation also weighs in favor of

preclusion.   This is not the first time that plaintiffs have

disregarded the court’s scheduling order.         See, e.g., Rockwood,

2016 DNH 24 (denying motion to amend the complaint to include

civil RICO violation brought ten and a half months after

amendment deadline); see also infra Part II.A.         As with its late

damages disclosures, Rockwood cannot justify this late

disclosure by invoking the parties’ agreement to conduct certain

depositions after the close of fact discovery.         See Fed. R. Civ.

P. 16(b)(4); Fed. R. Civ. P. 29(b) (“a stipulation extending the

time for any form of discovery must have court approval if it

would interfere with the time set for completing discovery”);

see also Banks v. City of Philadelphia, 309 F.R.D. 287, 291

(E.D. Pa. 2015) (dismissing claim where plaintiff failed to

comply with scheduling order despite parties’ informal discovery

agreement).



                                    5
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 6 of 43



       None of the other factors suggests that the court should

impose any other remedy.       While neither the potential prejudice

to the defendants (that is, defendants’ missed opportunity to

conduct discovery into Hochman’s belated opinion and it bases)

nor the late disclosure’s impact on the court’s docket (in

particular, the expenditure of judicial resources to resolve the

resulting motions practice where plaintiff issued the report

knowing the deadline had passed) weighs heavily in favor of

preclusion, those factors likewise do not weigh against it.

Finally, unlike in Esposito, 590 F.3d at 79, this preclusion

will not obviously or automatically result in dismissal of the

case.       Nor will it significantly prejudice plaintiff’s ability

to put on its case.       Plaintiff may still present Hochman as an

expert, who may testify as to the opinions disclosed in his

initial report.

       Accordingly, the court grants defendants’ motion to exclude

Hochman’s supplemental report and testimony related thereto.


       B.     Plaintiff’s motion to exclude expert testimony3

       Rockwood seeks to preclude the defendants’ expert, John R.

Levine, from testifying that a 2008 Ohio state court opinion

concerning Martha McAdam would have appeared on the first page

of Google’s search results if the plaintiff had searched Google


3   Document no. 67.

                                      6
       Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 7 of 43



for “Martha McAdam” prior to closing on the loan in July 2011.

Defendants contend that Levine’s testimony lacks reliability

because it is based on methods inadequate to support his

conclusion.

     Federal Rule of Evidence 702 is “[t]he touchstone for the

admission of expert testimony in federal court litigation . . .

.”   Crowe v. Marchand, 506 F.3d 13, 17 (1st Cir. 2007).           Under

that rule, an expert witness may offer opinion testimony if:

     (a) the expert’s scientific, technical, or other
     specialized knowledge will help the trier of fact to
     understand the evidence or to determine a fact in
     issue; (b) the testimony is based on sufficient facts
     or data; (c) the testimony is the product of reliable
     principles and methods; and (d) the expert has
     reliably applied the principles and methods to the
     facts of the case.

Fed. R. Evid. 702.     As the structure of this rule suggests,

before the factfinder in a case can consider expert testimony

over the adverse party's objection, the trial judge, serving as

“gatekeeper,” must determine whether the testimony satisfies the

relevant foundational requirements.        See Daubert v. Merrell Dow

Pharm. Inc., 509 U.S. 579, 597 (1993).

     Here, the only foundational requirement that Rockwood

questions is whether Levine’s opinion -- that the 2008 Ohio

court opinion would have appeared on the first page of the

results of a Google search performed in mid-2011 -- is “the

product of reliable principles and methods.”          Specifically,


                                     7
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 8 of 43



Rockwood points out that -- as Levine acknowledged in his

deposition -– Google ranks search results using a proprietary

algorithm that has evolved over time.       Though Google has not

disclosed the specific variables that the algorithm accounts

for, or precisely how it accounts for them, or how that has

changed over time, Levine acknowledged that it is possible to

know at least some of those variables, such as a user’s

geographic location and search history, as well as how many

times a particular result has been accessed.         By his own

admission, Levine did not account or control for at least these

known variables in performing his analysis.

    As Levine explained during his deposition, though

impossible to control for all variables, Google has disclosed,

to a certain degree, how its “PageRank” algorithm functions.

Through that algorithm, the most relevant results for a search

are weighted to display earliest in a list of search results.

In his 2015 search for “Martha McAdam,” Levine found that the

2008 Ohio court opinion appeared on the first page of the

results -- indeed, as the first result.        All but a handful of

the remainder of the results, he observed, were the familiar (to

popular search engine users) “generic links” to “sites that will

generally provide a search result for anything that looks like a

person’s name.”   Levine Report (document no. 67-4) ¶ 22.          Noting

that the 2008 Ohio court opinion’s metadata has not changed

                                    8
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 9 of 43



since Google first indexed it, Levine concluded that it would

have appeared above such “generic links” in 2011 and, therefore,

on the first page of a hypothetical search for “Martha McAdam”

at that time.4

     “While the party seeking to introduce the testimony bears

the burden of proving its admissibility, the burden is not

especially onerous, because ‘Rule 702 has been interpreted

liberally in favor of the admission of expert testimony.’”             West

v. Bell Helicopter Textron, Inc., 967 F. Supp. 2d 479, 484

(D.N.H. 2013) (quoting Levin v. Dalva Bros. Inc., 459 F.3d 68,

78 (1st Cir. 2006)).    The method by which Levine arrived at his

opinion, see supra Part I.B., is not so inherently unreliable

that exclusion is required.     That Levine might have, but did

not, take into account other known factors that may affect the

ranking of a search result goes more to the weight of his

testimony than to its admissibility.       See Crowe, 506 F.3d at 18

(“Objections of this type, which question the factual

underpinnings of an expert’s investigation, often go to the

weight of the proffered testimony, not to its admissibility.”);




4 The court derives this conclusion from a painstaking review of
Levine’s opinion and the exhibits submitted in support and
opposition to this motion. This court takes no pleasure in
noting that neither Levine’s report nor the parties’ briefing on
this motion were as helpful or clear as they could and should
have been.

                                    9
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 10 of 43



cf. Currier v. United Techs. Corp., 213 F.R.D. 87, 88 (D. Me.

2003) (failure to consider additional relevant factors goes to

weight).

       “Vigorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the

traditional and appropriate means of attacking shaky but

admissible evidence.”       Daubert, 509 U.S. at 596.       Rockwood will

have the opportunity to cross-examine Levine and present

contrary evidence here.       Accordingly, Rockwood’s motion to

exclude Levine’s opinion is denied.


       Motions in limine

       A.   Defendants’ motion in limine no. 1:         Damages evidence5

       The defendants seek to preclude Rockwood from presenting

evidence or argument concerning its entitlement to damages above

the $950,000 in unpaid principal that plaintiff claimed in its

complaint.     As far as the court can discern, defendants ask the

court to exclude evidence of (1) Rockwood’s attorneys’ fees,

costs and expenses incurred in its efforts to recover under the

loan after McAdam defaulted; (2) damages arising from Rockwood’s

loss of use of the funds; and (3) a default judgment against

McAdam.6    As explained below, this motion is granted in part.           To


5   Document no. 93.
6 The defendants also appear to request exclusion of any evidence
or argument that plaintiff is entitled to damages on the basis
                                      10
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 11 of 43



the extent Rockwood seeks to introduce evidence of its damages

beyond its actual pecuniary loss, its consequential damages, and

prejudgment interest, and especially to the extent that Rockwood

seeks to introduce evidence of damages for claims that it has

not pled, defendants’ motion is granted and that evidence will

be excluded.


         1.    Background

    In its complaint, Rockwood sought as damages for claims of

fraudulent and negligent misrepresentation: (1) $950,000,

representing the unpaid principal on the loan at issue;

(2) Rockwood’s attorneys’ fees and expenses accrued “in an

effort to work out the Loan or realize on the collateral”; and

(3) “Loss of the use of the funds by Plaintiff.”         Compl.

(document no. 1) at 8-9.    It echoed this demand in its initial

disclosures pursuant to Rule 26(a)(1)(A)(iii), adding that it

had not yet calculated the value of its loss of the use of the

funds, which would “likely be the subject of expert testimony.”

Document no. 93-2 at 4.

    On February 23, 2016, some 12 weeks after the close of fact

discovery, Rockwood supplemented its initial disclosures to



of defendants’ post-closing conduct. See Defendants’ Mot. in
Limine (document no. 93) at 9-10. This argument lacks the
specificity necessary for the court to rule on it in any helpful
manner at this time.

                                   11
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 12 of 43



include a breakdown of the fees and expenses.         Document no. 93-

3.   On March 10, 2016, 14 weeks after the close of discovery and

a mere six weeks before the then-scheduled April 22, 2016 final

pretrial conference, Rockwood emailed the defendants a copy of a

default judgment for $2.8 million dollars that it had obtained

against McAdam about two years earlier, in May 2014.          This

default judgment, Rockwood’s counsel’s paralegal explained in

the email, “better than anything we’ve provided to date,

represents Rockwood’s damages.”       Document no. 93-1.

     In its final pretrial statement, Rockwood finally

calculated the value of its alleged loss of the use of the funds

at just under $3 million.     Document no. 98 at 10-11.       It also

set out the calculations underlying its claim for damages based

on the default judgment against McAdam.        Id.


          2.    Default judgment and contract damages

     Plaintiff’s claims in this action are based on defendants’

alleged misrepresentations.      Such claims sound in tort.       See

Plourde Sand & Gravel v. JGI E., Inc., 154 N.H. 791, 799 (2007)

(citing Restatement (Second) of Torts § 552, at 126-27)).            In

New Hampshire,7 “[t]he general rule is . . . that the measure of


7 Sitting in diversity, this court looks to state law to
determine the bounds of available remedies. Hutton v. Essex
Grp., Inc., 885 F. Supp. 331, 333 (D.N.H. 1994) (citing Titan
Holdings Syndicate, Inc. v. City of Keene, N.H., 898 F.2d 265,
273 (1st Cir. 1990)).

                                    12
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 13 of 43



damages recoverable for misrepresentation, whether intentional

or negligent, is actual pecuniary loss.”       Crowley v. Glob.

Realty, Inc., 124 N.H. 814, 818 (1984).       “Consequential

damages,” which “are those amounts the plaintiff lost because of

the defendant’s misrepresentation,” are also recoverable.

Johnson v. Puritan Press, Inc., 2014 DNH 244, 2 (citing Crowley,

124 N.H. at 817).   Furthermore, a plaintiff who prevails in

recovering on his pecuniary loss may be entitled to prejudgment

interest on its damages award, see N.H. Rev. Stat. Ann. § 524:1-

b, the rate of which is calculated according to a formula

established by statute, see id. § 336:1.

    Defendants seek to preclude Rockwood from relying on the

default judgment that it obtained against McAdam as a

calculation of Rockwood’s damages in this action.         Defendants

characterize that damages calculus as contract-based lost profit

damages owed Rockwood by McAdam for her breach of the loan

agreement and a July 3, 2012 settlement agreement.         Defendants

then challenge admission of that default judgment as a basis for

plaintiff’s damages, arguing that defendants should not be held

liable for (1) the breach of a contract to which they were not

privy or (2) damages for a cause of action that the plaintiff

did not plead.

    While neither party makes this argument in an entirely

elucidating manner, it appears to the court that Rockwood does

                                   13
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 14 of 43



not defend the default judgment as an appropriate calculation of

damages on a claim sounding in tort.       Instead, it argues that,

because misrepresentations in opinion letters give rise to a

claim that sounds in both tort and contract, it is entitled to

either damages in tort or contract-based damages.         See

Plaintiff’s Obj. to Mots. in Limine (document no. 118) at 18-19.

Specifically, Rockwood now argues that it is entitled to

contract damages because it was (as the lender) the intended

third-party beneficiary of the agreement between the defendants

and McAdam (the borrower) under which defendants issued the

loan-related opinion letter at issue here.        See id.; Supp. Mem.

Regarding Plaintiff’s Breach of Contract Claim (document

no. 134).

    Rockwood raises this new theory of liability too late.             “It

is well settled that a defendant is entitled to be informed of

the theory on which the plaintiffs are proceeding and the

redress that they claim as a result of the defendant’s actions.”

Kravitz v. Beech Hill Hosp., L.L.C., 148 N.H. 383, 392 (2002)

(quoting Pike Indus., Inc. v. Hiltz Const., Inc., 143 N.H. 1, 3

(1998)); see also Ruivo v. Wells Fargo Bank, N.A., 766 F.3d 87,

91 (1st Cir. 2014) (“Although a complaint need not point to the

appropriate statute or law in order to raise a claim for relief

under Rule 8, its substance and structure must give the

defendants notice of the nature of the claim against them”).

                                   14
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 15 of 43



Had Rockwood raised a breach of contract claim in its complaint,

through a timely amendment, or even at any reasonable time prior

to its pre-trial statements and filings, Rockwood may possibly

have been entitled to maintain such a claim.        See Montgomery

Cty. v. Jaffe, Raitt, Heuer & Weiss, 897 F. Supp. 233, 237 (D.

Md. 1995) (permitting plaintiff to maintain a breach of contract

claim under a third-party beneficiary theory, under Maryland

law, for misrepresentations in an attorney opinion letter); but

see Citibank, N.A. v. City of Burlington, No. 2:11-CV-214, 2012

WL 2050730, at *2 (D. Vt. June 7, 2012) (dismissing, under

Vermont law, claim by recipient of opinion letter against law

firm under third party beneficiary theory).        If that is the law

in New Hampshire -- and it is not clear to the court that it is

-- Rockwood certainly had the opportunity to invoke that claim

earlier in the litigation.     It obtained the default judgment in

question some seven months before filing its complaint in this

action and 18 months before it sought to amend its complaint to

include far more complex, less traditional claims.         See

Plaintiff’s Motion for Leave to File Proposed Amended Complaint

(document no. 37).

    But Rockwood did not avail itself of that opportunity.

Neither is the court persuaded by Rockwood’s belated argument

that the complaint, as drafted, pleads and puts the defendants

on notice of such a claim.     See Supp. Mem. Regarding Plaintiff’s

                                   15
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 16 of 43



Breach of Contract Claim (document no. 134).        Though the

complaint does allege that Devine issued a written legal opinion

to Rockwood while representing McAdam in the days leading up to

the loan closing, nowhere did it put defendants on notice that

Rockwood claimed to be an intended third party beneficiary of

McAdam’s agreement with Devine as a result.        See Ruivo, 766 F.3d

at 91 (“the plaintiff is not entitled to pursue ‘every legal

theory that a court may some day find lurking in the penumbra of

the record.’” (quoting Rodriguez v. Doral Mortg. Corp., 57 F.3d

1168, 1172 (1st Cir.1995)); cf. Montgomery Cty., 897 F. Supp. at

237 (plaintiff pled both tort and contract theories).          Nor, so

far as the court is aware, had Rockwood raised this issue in

litigation prior to briefing this motion in limine.

    Accordingly, the default judgment against McAdam, and

argument by Rockwood in pursuit of contract-based damages based

thereupon or otherwise, will be excluded.


         3.    “Loss of use” damages

    Unlike its contract-based damages, plaintiff did plead its

entitlement to “loss of use” damages resulting from defendants’

alleged misrepresentations.     Compl. (document no. 1) at 8.

Defendants have moved to exclude evidence or argument concerning

Rockwood’s loss of use of funds claim on the grounds that

(1) Rockwood failed to support its “loss of use of funds”



                                   16
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 17 of 43



calculations with expert testimony and (2) that it was untimely

disclosed.   The court agrees that expert testimony would be

necessary in this case to support the “loss of use” damages that

plaintiff requests.   Plaintiff all but acknowledged as much when

it conceded that such damages would “likely be the subject of

expert testimony.”8   Document no. 93-2 at 4.

     Plaintiff’s reliance on cases suggesting that a party’s

damage from the loss of use of an automobile -- not of funds --

may be proven by direct testimony of the party “comparing what

it actually did, with what it would have done” alone is

misplaced.   See Gelinas v. Mackey, 123 N.H. 690, 695-696 (1983);

Rogers v. Nelson, 97 N.H. 72, 74-75 (1951).        Plaintiff’s pursuit

of damages based on its loss of use of the funds appears based




8 Indeed, although the defendants have not explicitly raised this
point in their filings, the court is not entirely convinced that
“loss of use” damages are available to the plaintiff as a
damages calculation separate from prejudgment interest. It is
commonly accepted that “[p]rejudgment interest serves to
compensate for the loss of use of money due as damages from the
time the claim accrues until judgment is entered, thereby
achieving full compensation for the injury those damages are
intended to redress.” West Virginia v. United States, 479 U.S.
305, 310 n.2 (1987); see also Lakin v. Daniel Marr & Son Co.,
732 F.2d 233, 238 (1st Cir. 1984) (“We have expressly held . . .
that one of the [New Hampshire prejudgment interest] statute's
purposes is ‘to provide compensation for the loss of the use of
money damages during the pendency of the lawsuit.’”). Absent
expert testimony on that score, the plaintiff has not
demonstrated why it ought to be entitled to interest at a rate
higher than that calculated according to the formula established
by statute.

                                   17
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 18 of 43



on the assumption that plaintiff would have invested the money

that it loaned to McAdam, as well as what it spent in costs and

fees, in a manner that returned compound interest at a rate of

20% per annum.   See Rockwood’s Pretrial Statement (document no.

98) at 10-11.    Such a calculation is more analogous to that of

future damages, such as loss of future earnings.         In New

Hampshire, future damages cannot be recovered unless the

plaintiff “prove[s] [its] damages to a degree of reasonable

certainty,” a burden it cannot satisfy “without evidence of the

amount of future damages reduced to present value.”         Hutton, 885

F. Supp. at 334.   Expert testimony, albeit “not absolutely

required, . . . is the preferred approach” to prove such

damages, because “[t]he court will not admit evidence of

economic data, such as interest and inflation rates, without a

proper foundation.”    Id. at 335.

    Even were expert testimony not necessary to establish the

appropriate measure of “loss of use” damages under these

circumstances (and if such damages were, in fact, available to

the plaintiff), Rule 26 of the Federal Rules of Civil Procedure

obligated Rockwood to disclose the computation of its damages

and the underlying evidentiary material during discovery,

without waiting for a discovery request from the defendants.

Fed. R. Civ. P. 26(a)(1)(A)(iii).       Rockwood failed to make this

significant disclosure in the timely manner contemplated by

                                   18
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 19 of 43



Rule 26.   The court is not persuaded by Rockwood’s defense that,

in essence, the parties’ agreement to conduct certain

depositions after the discovery deadline established by the

court’s order permitted the parties to informally extend all

discovery deadlines without the court’s consent.         See Fed. R.

Civ. P. 16(b)(4).

     Because Rockwood’s damages calculations for loss of use of

the funds are unsupported by expert testimony and untimely

disclosed, the court grants defendants’ motion in limine to

exclude evidence of those damages to the extent they exceed what

Rockwood may recover in prejudgment interest.


           4.   Attorneys’ fees and costs

     Finally, defendants seek to exclude the itemized list that

the plaintiff contends represent its costs and fees incurred in

attempting to collect on the loan.      Defendants argue that this

itemization, which Rockwood provided to defendants for the first

time well after the close of discovery, should be excluded

because it was untimely produced.9      This prejudiced defendants,




9 To the extent that defendants contend that Rockwood failed to
plead its entitlement to those costs and fees, that one-line
argument, see Defendants’ Mot. in Limine (document no. 93) at 5,
fails for lack of development. See United States v. Zannino,
895 F.2d 1, 17 (1st Cir. 1990). It would also fail on the
merits. The complaint does appear to allege facts underlying
Rockwood’s attempts to collect on the loan and seeks damages
that include Rockwood’s attorneys’ fees and expenses accrued “in
                                   19
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 20 of 43



they argue, in preventing defendants from pursuing discovery on

the subject.

    As discussed supra, Rule 26 obligated Rockwood to disclose,

“without awaiting a discovery request,”

    a computation of each category of damages claimed by
    the disclosing party -- who must also make available
    for inspection and copying as under Rule 34 the
    documents or other evidentiary material, unless
    privileged or protected from disclosure, on which each
    computation is based, including materials bearing on
    the nature and extent of injuries suffered[.]

Fed. R. Civ. P. 26(a)(1)(A)(iii).       Here, again, Rockwood failed

to make a timely disclosure of its damages calculations and the

underlying evidence -- much, if not all, of which was or ought

to have been in Rockwood’s possession well before discovery

closed.   And, again, the court is unconvinced by Rockwood’s

excuses for its tardy supplementation of its initial disclosures

or production of this evidence.      Exclusion of the late-disclosed

evidence under Rule 37 would not be inappropriate in a case such

as this where, as discussed supra Part I.A., the plaintiffs have

“repeatedly balk[ed] at court imposed deadlines.”         Esposito, 590

F.3d at 79 (citing Santiago-Díaz v. Laboratorio Clínico Y De

Referencia Del Este, 456 F.3d 272, 277 (1st Cir. 2006); see also

Harriman v. Hancock Cty., 627 F.3d 22, 30 (1st Cir. 2010)




an effort to work out the Loan or realize on the collateral.”
Compl. (document no. 1) at 8.

                                   20
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 21 of 43



(affirming preclusion of late-disclosed evidence where late

disclosure lacked justification).

     The record suggests, however, that the prejudice to the

defendants by plaintiff’s late disclosure of these calculations

is not significant.    See Cruz-Vázquez v. Mennonite Gen. Hosp.,

Inc., 613 F.3d 54, 58 (1st Cir. 2010).        Plaintiff produced its

itemized demand for damages several weeks before the deposition

of Rockwood’s principal, Dan Purjes, affording defendants the

opportunity to question Purjes on its contents.          It also

produced, during the discovery period, documents concerning

Rockwood’s attempts to collect on the loan’s principal and its

attorney fees paid to attorney Chris Dugan during those

attempts.10




10Rockwood disappointingly argues that defendants were not
prejudiced as to Attorney Dugan’s billing records because
defendants had those records “in hand when they deposed him” but
only asked him one question about them. Plaintiff’s Obj. to
Mots. in Limine (document no. 118) at 22. Defendants point out
what Rockwood omitted: that they had the documents “in hand”
only because said documents were produced the very day of
Dugan’s deposition, affording them little time to question him
on the documents’ content. Defendants’ Mot. in Limine (document
no. 93) at 7 n.1.

                                    21
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 22 of 43



       Accordingly, the court denies defendants’ motion to exclude

evidence of plaintiff’s damages in the form of costs, fees, and

expenses incurred in its efforts to realize the loan.11


       B.   Defendants’ motion in limine no. 2: Post-loan
       representations12

       Defendants also seek to exclude evidence and arguments

concerning the defendants’ conduct following the closing of the

Rockwood loan on July 21, 2011.         Generally, they challenge the

admissibility of evidence and argument concerning alleged

misrepresentations that Rockwood contends the defendants made

during the course of representing McAdam while Rockwood

attempted to realize on the loan after McAdam defaulted.13

Defendants challenge this evidence as irrelevant, unduly

prejudicial, and improper fodder for cross examination under

Rule 603(b).

       “Evidence is relevant if:      (a) it has any tendency to make

a fact more or less probable than it would be without the


11As discussed more fully infra Part III.B., Rockwood has
withdrawn its production of documents, made on April 12, 2016,
which the court understands relate to these alleged damages.
12   Document no. 93.
13Defendants noted three general examples of the allegedly
fraudulent post-closing behavior in their motion to exclude this
evidence. See document no. 93 at 11-12 Plaintiff identified
three more. See document no. 118 at 11-12. Each instance
involves the submission of an affidavit or a verified complaint
containing what Rockwood alleges are false statements.

                                      22
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 23 of 43



evidence; and (b) the fact is of consequence in determining the

action.”   Fed. R. Evid. 401.    As this court has previously

observed, evidence of the defendants’ behavior subsequent to the

loan closing may shed light on the defendants’ intent at the

time of the closing.    See Rockwood, 2015 DNH 135, 20-21; see

also Fed. R. Evid. 404(b)(2) (“Evidence of a crime, wrong, or

other act is not admissible to prove a person’s character,” but

“may be admissible for another purpose, such as proving motive,

opportunity, intent, preparation, plan, knowledge, identity,

absence of mistake, or lack of accident.”).        In the fraudulent

misrepresentation context, the Court of Appeals has observed:

    As direct evidence is seldom available, fraudulent
    intent normally is determined from the totality of the
    circumstances. And since ‘subsequent conduct may
    reflect back to the promisor’s state of mind and thus
    may be considered in ascertaining whether there was
    fraudulent intent’ at the time the promise was made,
    proper application of the ‘totality’ test in the
    instant context often warrants consideration of post-
    transaction conduct and consequences, as well as pre-
    transaction conduct and contemporaneous events.

Williamson v. Busconi, 87 F.3d 602, 603 (1st Cir. 1996).          Thus,

to the extent that the defendants’ post-closing conduct may

reflect on the defendants’ negligent or fraudulent intent at the

time of the closing, it may be relevant to these elements of the

plaintiff’s claims.    Further, post-closing statements and

conduct could be relevant as the continuation of a plan

undertaken prior to or at the time of the loan, or as efforts to


                                   23
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 24 of 43



conceal the falsehood or origins of such negligent or fraudulent

misrepresentations, or to delay their discovery or eventual

disclosure.   Finally, evidence and argument concerning post-

closing conduct by defendants that may have delayed, hindered or

prevented the plaintiff from obtaining satisfaction on the loan,

leading defendants to incur additional costs, may be relevant to

plaintiff’s claim for those damages upon a showing of a causal

connection between defendants’ conduct and plaintiff’s costs.

    To be clear, the court has not ruled this broad swath of

evidence admissible.    The court merely declines to rule it

entirely inadmissible at this pretrial stage, in light of the

parties’ briefing with respect to broad categories of documents

and information rather than specific instances of conduct or

specific pieces of evidence.     Defendants may raise their

objections with greater specificity at trial.        Upon such

objections, plaintiff should be prepared to explain how the

evidence in question is relevant to its claims as described

above, to its damages, or to some issue not as-of-yet raised by

the parties or the court.

    Nor is the court inclined to preclude this category of

evidence and argument for lack of a “standard of care” expert.

Defendants contend that Rockwood cannot demonstrate that any of

that conduct was wrongful absent an expert who can establish the

standard of care that an attorney must exercise when

                                   24
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 25 of 43



representing a client.14     While expert opinion on this subject

may be required in the legal malpractice context, Wong v.

Ekberg, 148 N.H. 369, 373 (2002), the defendants have cited no

authority -- and this court is unaware of any -– holding that

such opinion evidence on standard of care is required to prove

an attorney or law firm’s negligent or fraudulent

misrepresentation to a third party.

     The question here is not whether the defendant’s post-

closing statements or actions were themselves wrongful,

actionable, or violated any duty owed to a client or adverse

party, or caused the plaintiff’s damages.        The question is

whether they are admissible to prove the plaintiff’s claims or

damages.   That is a question of relevance under Rules 402 and

404, and is not in any way dependent on any precondition (see

Fed. R. Evid. 104(b)) or expert opinion evidence.          The

defendants have cited no authority to the contrary.

     This is not to say that expert opinion evidence regarding

an attorney’s professional obligations to clients and third

parties would not be relevant or admissible.         Such evidence




14This is the basis for defendants’ contention that specific
instances of alleged post-closing misrepresentations cannot be
inquired into on cross examination. See Fed. R. Evid. 608(b).
Absent an expert to establish the requisite standard of care,
defendants contend, the plaintiff cannot establish that
defendants’ conduct was a “bad act.”

                                    25
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 26 of 43



might very well provide helpful context for the jury to evaluate

the defendants’ alleged conduct in this case, both at the time

of the transaction and afterward.          But to say that such evidence

might be admissible if offered by either party is not to say it

is required to be offered by the plaintiff.           To the extent that

the defendants argue that an expert is necessary to provide a

context for these post-closing statements, defendants have long

been well aware that plaintiffs attached some weight to these

post-closing activities.       Nothing prevented the defendants from

presenting an expert on that subject as part of its defense, and

it is possible that witnesses on the parties’ recently filed

witness lists, several of whom are attorneys, could provide such

testimony.

       The defendants’ motion to exclude evidence and argument

concerning post-closing conduct is therefore denied, albeit --

as noted supra -- without prejudice to defendants challenging

the introduction of specific evidence concerning this subject at

trial.


       C.   Defendants’ motion in limine no. 3: Banking records15

       Defendants also seek to exclude certain bank records that

plaintiffs obtained from two third-party banks via subpoenas




15   Document no. 93.

                                      26
      Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 27 of 43



served on March 3, 2016.16     Defendants challenge the documents as

untimely and irrelevant.

     As to timeliness, Rockwood procured the documents, and

produced them to defendants, after the close of discovery.

This, defendants argue, prevented defendants from conducting

appropriate discovery into the documents.        To the extent that

the subpoenas in question were trial subpoenas (see Fed. R. Civ.

P. 45(a)(1)), they were not governed by the discovery deadline.

Even if the subpoenas were actually issued in discovery (see

e.g. Fed. R. Civ. P. 45(c)(2)) Rockwood represents that the

documents so obtained are merely certified copies of bank

records that were produced to defendants during the course of

discovery -- indeed, before defendants deposed any witnesses in

this case.   Insofar as this characterization of the documents is

accurate, the defendants had ample opportunity to conduct

discovery into the content of the documents and, accordingly,




16During an informal discovery dispute conference, defendants
challenged Rockwood’s issuance of trial subpoenas that called
for production of documents at plaintiff’s counsel’s office
after discovery closed but more than six weeks before trial.
The court expressed its skepticism regarding the technical
propriety of this use of trial subpoenas, see infra n. 18, but
allowed Rockwood to proceed with the subpoenas upon the parties’
agreement that Rockwood would produce the resulting documents to
defendants immediately upon receipt. See Order of March 9, 2016
(document no. 85) at 2.

                                    27
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 28 of 43



are not prejudiced by the late production of certified copies.17

The court therefore will not exclude them on timeliness grounds.

     Defendants’ challenge to the documents’ relevance, at least

as a broad category, is also misplaced.       Rockwood has alleged

that Attorney McGinley represented to Rockwood that McAdam had

no financial interest in the company whose rent payments McAdam

would use to repay the loan -- Monster Storage.         To the extent

Rockwood seeks to introduce the bank records as evidence that

McAdam did have such a financial interest, as defendants

predict, see Defendants’ Mot. in Limine (document no. 93) at 15,

the bank records may have a tendency to make the falsehood of

Attorney McGinley’s Monster Storage-related representation more

likely than it would be without those records.        See Fed. R.




17This is not to say that the court endorses the use of a
Rule 45 subpoena to require production of documentary evidence
at counsel’s office well in advance of trial. Subpoenas are
properly utilized to effectuate the production of documents or
things to a proceeding such as a trial, hearing, or deposition.
It seems to the court that requesting or allowing a subpoena
recipient to provide copies to counsel in lieu of the proceeding
is normally not inappropriate. Requesting production of
originals to counsel in advance of a proceeding as a way of
complying with a subpoena, however, strikes the court as less
than proper, and as creating the potential for abuse of process.
The court takes no position as to whether that took place here,
but notes that plaintiff’s counsel represent that they produced
the non-certified copies to defendants in July 2015.
Plaintiff’s counsel were well positioned, then, to obtain
certified copies of these documents before discovery closed on
December 2, 2015, some five months later.

                                   28
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 29 of 43



Evid. 401.     And the truthfulness of that representation is

certainly of consequence in this action.          Id.

       Accordingly, the defendants’ motion to exclude these

documents, as a broad category, is denied.


       D.   Defendants’ motion in limine no. 4: 2006
       representation in the 2006 Ohio litigation18

       Finally, defendants seek to exclude any evidence or

argument concerning Devine’s representation of McAdam in

litigation against Ohio Attorney Jack Donenfeld before an Ohio

state court in 2006.       Defendants argue that any such evidence is

irrelevant because Attorney McGinley has already admitted that,

at the time she wrote the opinion letter, she was aware that the

Ohio court found McAdam to have committed fraud on the court

during that action.      The court rejected this argument during

discovery, see Rockwood, 2015 DNH 135, 20-21, and rejects it

again here.     “Federal Rule of Evidence 401 does not restrict

relevance to evidence directed at disputed facts.”            Jenks v.

Textron, Inc., 2012 DNH 119, 7-8.

       Even if relevant, defendants argue, such evidence is

unfairly prejudicial, delaying, a waste of time, and cumulative.

See Fed. R. Evid. 403 (the court may exclude relevant evidence

“if its probative value is substantially outweighed by a danger



18   Document no. 93.

                                      29
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 30 of 43



of . . . unfair prejudice, . . . undue delay, wasting time, or

needlessly presenting cumulative evidence.’”).        First,

defendants have not identified any way in which introduction of

evidence concerning Devine’s representation of McAdam in the

2006 Ohio litigation would prejudice Attorney McGinley or

Devine.   Second, defendants’ argument that the 2006 Ohio

litigation evidence will be cumulative, cause undue delay, or

waste time is premised on the notion that any evidence

concerning facts that Attorney McGinley has already admitted

would satisfy those conditions.      But, as the court has

previously observed, such evidence may be relevant to more than

merely whether McAdam was aware of the Ohio litigation.          See

Rockwood, 2015 DNH 135, 15-16.     It may, for example, be relevant

to Attorney McGinley’s intent in making the alleged

misrepresentation in the opinion letter, to Devine’s knowledge

of the findings concerning McAdam, or the credibility of

McGinley or other witnesses.     Further, Attorney McGinley is not

the sole defendant in this action, or the only employee of the

Devine firm whose knowledge, conduct, and intent regarding the

Ohio litigation could be relevant in this action.         As such,

Attorney McGinley’s admission as to her knowledge does not

necessarily render all evidence concerning the 2006 Ohio

litigation cumulative, delaying, or time-wasting.



                                   30
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 31 of 43



       Finally, defendants again advance the unsupported argument

that such evidence is inadmissible absent an attorney expert to

provide the jury with the standard of care expected of an

attorney representing a client in litigation.           That argument

fails here for the same reasons discussed supra Part II.C.

       Defendants’ motion to exclude all evidence and argument

about Devine’s representation of McAdam in the 2006 Ohio

litigation is therefore denied.         To the extent that Rockwood

intends to offer evidence concerning the 2006 Ohio litigation

for purposes not identified by the defendants, such as to call

Attorney McGinley’s credibility into question, the court of

course renders no ruling at this time.


       E.   Defendants’ motion to preclude testimony of Devine
       attorneys19

       Finally, defendants move to preclude Rockwood from calling

five attorneys, currently or formerly associated with defendant

Devine, Millimet & Branch, PA, to testify, and to preclude

Rockwood from using certain demonstrative exhibits at trial.


            1.    Attorneys Will, Pacik, and Johnson

       The defendants ask the court to exclude the testimony of

Attorneys Dan Will, Danille Pacik, and Matt Johnson.            This

argument is based on defendants’ contention that evidence


19   Document no. 131.

                                      31
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 32 of 43



concerning defendants’ pre- and post-closing activities is not

admissible.     See Parts II.B and II.D.    As the court denies those

motions to exclude, wholesale, evidence of those activities, see

id., the court also denies defendants’ motion to exclude,

wholesale, the testimony of these witnesses for the same

reasons.


           2.    Attorneys Gayman and DiCroce

    Defendants also seek to exclude testimony by two members of

Devine’s opinion committee, Attorneys Benjamin Gayman and

Camille DiCroce, who testified in deposition that they lack

knowledge of the specific opinion letter at issue in this

litigation.     Rockwood, in its objection, indicates its intention

to introduce testimony by these witnesses concerning the process

by which Devine issued opinion letters in 2011, arguing that the

process is highly relevant to the defendants’ intent in making

the alleged misrepresentations in the opinion letter at issue.

While the court is underwhelmed by Rockwood’s argument --

particularly in light of the court’s order of May 3, 2016, that

said objection should contain a “complete description of the

evidence” Rockwood intended to introduce through this testimony,

and its relevance -- it declines to prohibit Rockwood from

calling any particular witness on a pretrial basis.         Rockwood

should, however, take care to order its witnesses with care, and



                                   32
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 33 of 43



should be prepared for the court to preclude cumulative evidence

at trial under Federal Rule of Evidence 403 for “wasting time.”

Fed. R. Evid 403.       Rockwood should further be prepared to

proffer testimony under Rules 103(c) and 104(c) in order for the

court to make such determinations.


       F.   Plaintiff’s motion in limine no. 1:         Regulatory
       material20

       Rockwood seeks to prevent the defendants from cross

examining Rockwood’s principal, Dan Purjes, concerning a

National Association of Securities Dealers (“NASD”) hearing

panel decision from 2001 that censured Purjes and his financial

firm for engaging in a “pump and dump” style stock sale.

Rockwood contends that the NASD hearing panel decision is not

probative of Purjes’s character for truthfulness and is too

remote in time such that any cross examination on the subject

should be disallowed.       See Fed. R. Evid. 608(b); United States

v. Thiongo, 344 F.3d 55, 59 (1st Cir. 2003).           The court grants

Rockwood’s motion in part and denies it in part.

       The court may permit inquiry into “specific instances of a

witness’s conduct . . . if they are probative of the [witness’s]

character for truthfulness or untruthfulness.”           Fed. R. Evid.

608(b).    The NASD hearing panel’s specific findings that Purjes



20   Document no. 94.

                                      33
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 34 of 43



made false statements or misrepresentations are probative of

Purjes’s character for truthfulness.       See Fed. R. Evid. 608(b).

Specifically, the NASD hearing panel’s findings that Purjes gave

false testimony at the hearing and that Purjes intentionally

withheld material information from customers who purchased

shares from him or his firm are sufficiently “similar to the

conduct at issue,” that is, the credibility of Purjes’s

testimony at trial, to be admissible as impeachment material

under Rule 608(b).   See Thiongo, 344 F.3d at 60; see also

Caluori v. One World Techs., Inc., No. CV 07-2035 CAS VBKX, 2012

WL 2004173, at *10 (C.D. Cal. June 4, 2012) (evidence of prior

frauds probative of witness’s character for truthfulness).

    Though Rockwood contends that these findings, dating back

to 2001, are too remote in time to be probative to Purjes’s

present character for truthfulness, the court disagrees.          See

United States v. Ulloa, 942 F. Supp. 2d 202, 207 (D.N.H. 2013)

(allowing cross examination under Rule 608(b) on instances of

conduct that occurred 14 years prior to testimony).         While the

distance in time between 2001 and Purjes’s testimony in this

trial may be a valid consideration if Purjes had been

exceedingly young and inexperienced at the time of those

findings, he was not.    The acts for which Purjes was censured

occurred well into his adult life and business career, and are



                                   34
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 35 of 43



sufficiently probative of his character for truthfulness to

permit inquiry under Rule 608(b).

    Nor is such evidence unfairly prejudicial.             Purjes’s

character for truthfulness is not of minor significance in this

case.    For example, the jury will be required to assess the

credibility of his testimony regarding Attorney McGinley’s

alleged representation regarding the Monster Storage lease

relationship, as well as his claims that he relied on Attorney

McGinley’s representations at issue in this action when deciding

whether to enter into the loan agreement with McAdam, and that

he would not have made the loan had the alleged

misrepresentation not been made.           Accordingly, defendants may

inquire into those acts under Rule 608(b).

    Not everything in the NASD hearing panel decision is fair

game on cross examination, however.           Evidence of the underlying

offense for which Purjes was censured -- the “pump and dump”

style stock sale, itself -– is, at best, marginally relevant to

any claim or defense in this action.           And the stretch of time

between that conduct and Purjes’ testimony, as well as the

likely resulting prejudicial effect of evidence that Purjes is a

known stock manipulator, outweighs any probative value it may

have as to his character for truthfulness.           See Fed. R.

Evid. 403.     Fraudulent conduct may be, but is not necessarily,

probative as to truthfulness in the same way that factually

                                      35
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 36 of 43



false statements or testimony are.         But see United States v.

Lanier, No. CRIM. H-10-258-4, 2014 WL 2331659, at *2 (S.D. Tex.

May 29, 2014) (“The questions about the acquisition and sale of

the . . . stock were within Rule 608 because, to the extent they

implicated [the witness] in a fraudulent pump-and-dump scheme, .

. . the questions were relevant to his truthfulness.”).


       G.   Plaintiff’s motion in limine no. 2: Enright
       allegations21

       Rockwood also moves to preclude defendants from introducing

any evidence of civil complaints and criminal and bankruptcy

proceedings brought against Rockwood’s agent, Todd M. Enright.

This motion is also granted in part and denied in part.

       As discussed supra Part II.F, the court may permit inquiry

into “specific instances of a witness’s conduct . . . if they

are probative of the [witness’s] character for truthfulness or

untruthfulness.”      Fed. R. Evid. 608(b).      Rule 608(b) “does not

require the proponent to establish prior untruthful conduct by

the witness to a certainty before inquiring about it,” but

requires only that the proponent possess “some facts which

support a general belief that the witness committed the offense

or the degrading act to which the question relates.”            Ulloa, 942




21   Document no. 95.

                                      36
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 37 of 43



F. Supp. 2d at 205 (quoting United States v. Whitmore, 359 F.3d

609, 622 (D.C. Cir. 2004)).

    Findings by a tribunal that an individual engaged in

particular behavior ordinarily satisfy that requirement, and do

so here.   Defendants accordingly may cross examine Mr. Enright

concerning the District of Vermont bankruptcy court finding that

Enright engaged in a “pattern of intentional deceit” to induce

certain creditors into real estate loans.       Indeed, Rockwood

concedes that the Vermont bankruptcy court’s findings are fair

game for cross examination.     See Plaintiff’s Mem. in Support of

Mot. in Limine (document no. 95-2) at 1 n.1.        And, as with

Purjes, Enright is one of Rockwood’s primary witnesses.          The

court understands that Enright will testify that Attorney

McGinley represented that Monster Storage existed independently

of McAdam; Attorney McGinley, the court understands, denies

making such a representation.     Enright’s credibility is thus

relevant and subject to inquiry under Rule 402 and 608(b) for

the same and similar reasons discussed infra at Part II.F. as to

Purjes.

    But the same does not necessarily hold true for the

unproven allegations in the Maine and Vermont civil actions.           To

the extent that Enright confessed judgment in those cases, he

did so only as to breach of contract claims, not the fraud or

misrepresentation claims asserted against him.        Furthermore, the

                                   37
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 38 of 43



decision of the District Court for the District of Maine, cited

by defendants, recites facts in the summary judgment context,

where all inferences are made in the non-moving party’s favor.

See Nagle v. Middlebury Equity Partners, LLC, 674 F. Supp. 2d

290, 292-93 (D. Me. 2009).     Accordingly, unless Enright’s

testimony somehow opens the door for further inquiry in that

direction, Devine may not inquire under Rule 608(b) as to the

unproven Maine and Vermont civil action allegations against

Enright under Rule 608(b).

    Finally, defendants seek to introduce evidence of divorce

proceedings in which Enright participated concurrent with his

due diligence on the loan at issue in this action.         As

defendants point out, evidence of Enright’s dire financial

situation during that period -- and, in particular, the fact

that Enright faced the possibility of incarceration for contempt

of court for non-payment -- may be relevant to Enright’s

motivation for closing on the loan.      The reason that Enright was

in such straits, however -- that he was delinquent in child

support payments -- lacks relevance to Enright’s motivation or,

at least, is not sufficiently probative thereto in light of its

potential for prejudice, and will be excluded.        See Fed. R.

Evid. 403.   Accordingly, the defendants may introduce evidence

of and inquire into Enright’s financial situation and possible

consequences (incarceration for contempt), but not the

                                   38
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 39 of 43



underlying, potentially prejudicial grounds therefor (nonpayment

of child support).


       Miscellaneous motions

       A.   Plaintiff’s contempt motion22

       According to Rockwood, Martha McAdam failed to comply with

one deposition subpoena, claiming illness on the date of the

deposition, and has managed to avoid service of two subsequent

subpoenas.     Rockwood asks the court to hold McAdam in contempt

and also to exclude her testimony in light of the fact that she

has avoided being deposed.

       At the final pretrial conference, counsel for all parties

represented that no party intends to call McAdam to testify at

trial.23    The court accordingly denies plaintiff’s motion as

moot, without prejudice to revisiting the issue in the event

that, contrary to expectation, McAdam is called to testify.




22   Document no. 96.
23Though the court observes that defendants, in their final
witness list, yet indicate that they “may call” McAdam to
testify. See document no. 129.

                                      39
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 40 of 43



       B.   Defendants’ motions to compel or exclude evidence24 and
       to continue trial25

       On the eve of the final pretrial conference, defendants

moved to compel the plaintiffs to produce documents and

deponents concerning plaintiff’s claims for fees and costs

associated with their attempt to collect on the defaulted loan,

and on plaintiff’s claim for enhanced compensatory damages.

Defendants brought this motion in light of the fact that

plaintiff produced some such documents on April 12, 2016, a mere

two weeks before the final pretrial conference, and raised the

specter of enhanced compensatory damages26 well after discovery

closed.    Defendants also moved to continue the trial to allow

time for this requested discovery.




24   Document no. 123.
25   Document no. 124.
26Defendants preface their motion to compel discovery into
enhanced compensatory damages by implying that the court has
already ruled on whether the plaintiff will be permitted to
offer evidence in support of such a claim. See Mot. to Compel
(document no. 124) at 5-6. It has not. Rather, during the
April 20, 2016 telephone conference -- and again at the final
pretrial conference -- the court noted that the complaint
arguably alleges facts supporting such a claim. It further
noted that defendants have not offered any authority squarely
requiring plaintiff to include a request for such damages (by
name or by articulating the applicable legal standard) in its
prayer for relief before being allowed to present evidence on
such a claim. Thus, the court had gone no further than
expressing its disinclination to preclude enhanced compensatory
damages outright in a pretrial ruling.

                                      40
     Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 41 of 43



    During the final pretrial conference, counsel for Rockwood

represented that Rockwood would withdraw any reliance on the

tardily-produced documents if it would keep the trial on

schedule.   In light of this representation, counsel for the

defendants withdrew defendants’ motion to compel additional

discovery as to plaintiff’s claim for costs and fees.

    Moreover, while counsel for the defendants clearly and

forcefully expressed their opinion that the purported lack of

clear pleading on such damages was impermissible, they did not

(and presumably could not) articulate what, if any, additional

discovery they would conduct into plaintiff’s claim for enhanced

compensatory damages.    Whether plaintiff is entitled to such

damages turns on the defendants’ motive and the egregiousness of

defendants’ conduct.    Figlioli v. R.J. Moreau Companies, Inc.,

151 N.H. 618, 621 (2005) (“When an act is wanton, malicious, or

oppressive, the aggravating circumstances may be reflected in an

award of enhanced compensatory damages.”).        The parties here

have fully explored the conduct itself, and the evidence

thereof, in discovery in this action.       The defendants’ motion to

compel additional discovery on this issue is therefor denied.

    The defendants requested a continuance of the trial to

afford them time to conduct the requested discovery.         Because

the court denies the defendants’ motion to compel, for the



                                   41
        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 42 of 43



reasons discussed above, the court also denies defendants’

motion to continue the trial.


       Conclusion

       For the foregoing reasons:

       Defendants’ motion to exclude the supplemental expert

report of Jonathan E. Hochman27 is GRANTED.

       Plaintiff’s motion to exclude the expert opinion and

testimony of John R. Levine28 is DENIED.

       Defendants’ first motion in limine29 is GRANTED-IN-PART and

DENIED-IN-PART.      Their second, third, and fourth motions in

limine30 and their motion in limine to preclude testimony from

certain Devine attorneys31 are DENIED.

       Plaintiff’s first and second motions in limine32 are

GRANTED-IN-PART and DENIED-IN-PART.




27   Document no. 66.
28   Document no. 67.
29   Document no. 93.
30   Document no. 93.
31   Document no. 131.
32   Document nos. 94 and 95.

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        Case 1:14-cv-00303-JL Document 138 Filed 05/06/16 Page 43 of 43



       Plaintiff’s motion to hold Martha McAdam in contempt of

court and/or to exclude her testimony33 is DENIED without

prejudice.

       Defendants’ motion to compel damages documentation, for

sanctions, and to re-open discovery34 and motion to continue the

trial35 are DENIED.


       SO ORDERED.


                                    ____________________________
                                    Joseph N. Laplante
                                    United States District Judge



Dated:      May 6, 2016

cc:    Matthew B. Byrne, Esq.
       Norman Williams, Esq.
       Robert F. O’Neill, Esq.
       David A. Boyd, Esq.
       Petra A. Halsema, Esq.
       Finis E. Williams, III, Esq.
       James C. Wheat, Esq.
       Pierre A. Chabot, Esq.




33   Document no. 96.
34   Document no. 123.
35   Document no. 124.

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